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                               UNITED STATES DISTRICT COURT
                                DISTRICT OF SOUTH CAROLINA
                                    CHARLESTON DIVISION

Paul Tidwell,                                 )       C.A. No.: 2:23-cv-2643-JD-KDW
                                              )
                Plaintiff,                    )
                                              )        STIPULATION OF DISMISSAL,
v.                                            )             WITH PREJUDICE
                                              )
Zinus, Inc.,                                  )
                                              )
                Defendant.                    )
                                              )

       Plaintiff Paul Tidwell, by and through his undersigned counsel, and Zinus, Inc., by and

through its undersigned counsel, having represented to the Court Plaintiff’s desire to dismiss

Defendant from this action, including all of the claims and causes of action against Defendant,

with prejudice; it is hereby

       STIPULATED, that Plaintiff's claims and causes of action against Defendant are

dismissed, with prejudice, with each party to bear its own costs and attorneys' fees.




                                  (signatures on following page)




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Charleston, South Carolina
February 14, 2024




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